223 F.2d 254
    Frank T. SCOZZAFAVA, Petitioner,v.UNITED STATES of America, Respondent.
    Misc. No. 450.
    United States Court of Appeals Ninth Circuit.
    June 8, 1955.
    
      Frank T. Scozzafava, Steilacoom, Wash., for petitioner, in pro. per.
      No appearance for respondent.
      Before DENMAN, Chief Judge, and BONE and ORR, Circuit Judges.
      PER CURIAM.
    
    
      1
      Scozzafava seeks to obtain review by this court of an order of the United States District Court for the Western District of Washington denying his motion pursuant to 28 U.S.C. § 2255.
    
    
      2
      The papers do not show that an appeal has been taken by filing a notice of appeal with the district court. The petition is ordered dismissed.
    
    